Case 2:85-cv-04544-DMG-AGR Document 461 Filed 07/16/18 Page 1 of 2 Page ID #:20710




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                              UNITED STATES DISTRICT COURT

10                           CENTRAL DISTRICT OF CALIFORNIA
11                                    WESTERN DIVISION
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13    JENNY LISETTE FLORES, et al.,               ) Case No. CV 85-4544 DMG (AGRx)
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                                                  )
               Plaintiffs,                        ) ORDER RE PLAINTIFFS’ APPLICATIONS
15    - vs -                                      ) FOR LEAVE TO FILE DECLARATIONS AND
16                                                ) CORRECTED MEMORANDA IDENTIFYING
      JEFFERSON B. SESSIONS, Attorney             ) ASYLUM APPLICANTS UNDER SEAL
17    General of the United States, et al.,       ) [457][459]
18                                                )
               Defendants.                        )
19                                            _   )
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Case 2:85-cv-04544-DMG-AGR Document 461 Filed 07/16/18 Page 2 of 2 Page ID #:20711


1          On July 14, 2018 and July 16, 2018, Plaintiffs filed Applications for Leave to File
2    Declarations of Asylum-Seekers and a Corrected Memorandum Identifying Such
3    Asylum-seekers Under Seal. [Doc. ## 457, 459.] The Court GRANTS Plaintiffs’
4    Applications because they have shown that compelling reasons warrant sealing these
5    documents. The Court issues the following rulings:
6          1. The Clerk shall seal Docket Entry No. 459-3.
7          2. Pursuant to Local Rule 79.5.2.2(c), Plaintiffs shall e-file under seal the
8    unredacted documents found in Docket Entry Nos. 460-1, 460-2, 460-3, 460-4, 460-5,
9    460-6, 460-7, 460-8, 460-9, and 460-10.
10         3. Within three (3) days of the date of this Order, Plaintiffs shall refile the redacted
11   versions of the documents found in Docket Entry Nos. 459-1, 459-2, 459-3, 459-4, 459-
12   5, 459-6, 459-7, 459-8, 459-9, 459-10, 459-11, 459-12, and 459-13, with the following
13   modifications to the redactions for Docket Entry No. 459-3:
14               a. On lines 19 to 20 on page 73 of Docket Entry No. 459-3, Plaintiffs shall
15               redact Declarant David’s middle and surnames; and
16               b. On pages 123 to 124 of Docket Entry No. 459-3, Plaintiffs shall remove
17               the redactions from the text except for any that are required to conceal the
18               identities of asylum-seekers.
19         4. Within three (3) days of the date of this Order, Plaintiffs shall file redacted
20   versions of Exhibits 136 to 150, which are missing from Docket Entry No. 459-10 but
21   are included in Docket Entry No. 460-8. The publicly filed version of Exhibits 136 to
22   150 shall be redacted in conformance with the proposed redactions found in Docket
23   Entry No. 460-8.
24   IT IS SO ORDERED.
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     DATED: July 16, 2018                    _______________________
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                                             DOLLY M. GEE
27                                           UNITED STATES DISTRICT JUDGE
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